              Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 1 of 74

                                                                             CLERK OF STATE COURT
                                                                             BIBB COUNTY, GEORGIA
                                             Bibb                          20-SCCV-091825
                                                                                     SFL
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                  09-10-2020                         20-SCCV-091825




DENSLEY, TREVOR                             CALDWELL, BENNIE


                                            STONE, REBECCA


                                            CS TRANSPORT, INC.

                                            NATIONWIDE INSURANCE COMPANY OF AMERICA


                   Sedghi, Reza                         634077
       Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 2 of 74

                                                                                       CLERK OF STATE COURT
                                                                                       BIBB COUNTY, GEORGIA
                                                                                    20-SCCV-091825
                            IN THE STATE COURT OF BIBB COUNTY                                  SFL
                                                                                      SEP 10, 2020 04:13 PM
                                       STATE OF GEORGIA


TREVOR DENSLEY,                           ]
                                          ]
      Plaintiff,                          ]                  CIVIL ACTION NO.
                                          ]
vs.                                       ]
                                          ]
BENNIE CALDWELL, REBECCA STONE, CS ]
TRANSPORT, INC., NATIONWIDE               ]
INSURANCE COMPANY OF AMERICA,             ]
JOHN DOE, And JOHN DOE, Inc.              ]
                                          ]
      Defendants.                         ]
__________________________________________]


                                 COMPLAINT FOR DAMAGES

       COMES NOW, Plaintiff TREVOR DENSLEY, in the above-styled action and file this

Complaint for Damages against BENNIE CALDWELL, REBECCA STONE, CS TRANSPORT,

INC., NATIONWIDE INSURANCE COMPANY OF AMERICA, JOHN DOE, and JOHN DOE,

INC. Defendants in the above-styled action, by showing this Honorable Court the following as

their Complaint:

                       I.      PARTIES, JURISDICTION AND VENUE

                                                  1.

       Plaintiff TREVOR DENSLEY is a resident and citizen of Georgia.

                                                  2.

       Defendant BENNIE CALDWELL is a citizen and resident of Ashland, Franklin County,

Alabama.    Pursuant to the Georgia Long Arm Statute, Defendant Caldwell is subject to the

jurisdiction of this Court. Defendant may also be subject to the jurisdiction of this Court pursuant to
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 the Georgia Non-Resident Motorist Act, O.C.G.A. § 40-12-1. Defendant may be served pursuant to

 O.C.G.A. § 40-12-1.

                                                 3.

               Defendant REBECCA STONE is a citizen and resident of Ashland, Franklin County,

 Alabama. Pursuant to the Georgia Long Arm Statute, Defendant Stone is subject to the jurisdiction

 of this Court. Defendant Stone may be served with process by personally serving him at 2332 Taylor

 Road, Ashland, Alabama 36251, Franklin County.

                                                 4.

       Defendant CS TRANSPORT, INC. is a foreign corporation organized and existing under the

laws of Alabama with its principal place of business located at 55 Lealander Road, Daviston,

Alabama 36256, Tallapoosa County. Said Defendant is subject to the jurisdiction of this Court

pursuant to O.C.G.A. § 46-7-17, by virtue of the facts shown hereinbelow, and as a joint tortfeasor.

Defendant CS TRANSPORT, INC. may be served with this Complaint through its registered agent

for service as follows: Ben Willis, as Registered Agent for, CS Transport, Inc., 55 Lealander Road,

Daviston, Alabama 36256, Tallapoosa County.

                                                 5.

       Defendant NATIONWIDE INSURANCE COMPANY OF AMERICA is a foreign

insurance company organized and existing under the laws of Ohio with its principal place of

business located at 1100 Locust Street, Des Moines, Iowa, 50391-1100. Nationwide Insurance

Company Of America may be served with legal process by serving its registered agent for service

as follows: Corporation Service Company, 40 Technology Parkway South, #300, Gwinnett County,

Norcross, Georgia, 30092.

                                                 6.
          Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 4 of 74




          Nationwide Insurance Company of America transacts business in the State of Georgia

including Bibb County, Georgia.

                                                  7.

       John Doe and John Doe, Inc. are unknown entities which are subject to the jurisdiction and

venue of this Court.

                                                  8.

       Defendants are subject to the jurisdiction and venue of this Court pursuant to Ga. Const. Art.

VI, § 2, ¶ IV, O.C.G.A. § 9-10-91, O.C.G.A. § 9-10-93, O.C.G.A. § 33-4-1, O.C.G.A. § 14-2-510,

O.C.G.A. § 40-1-117(b), O.C.G.A. § 40-12-3 and other applicable law.

                                                  9.

          Defendant Nationwide Insurance Company of America provided liability insurance

coverage to Defendant Bennie Caldwell, Defendant Rebecca Stone, and Defendant CS Transport,

Inc. for this collision under Policy Number LFO0003495.

                                                 10.

       Defendant Nationwide Insurance Company of America insures Defendant Bennie Caldwell.

Accordingly, Plaintiff has a direct action against Nationwide Insurance Company of America

pursuant to O.C.G.A. § 40-1-112 and O.C.G.A. § 40-2-140(d)(4).

                                                 11.

       Venue for this action lies within Bibb County, Georgia since the wreck happened in Bibb

County.

                                                 12.

       This court has subject matter jurisdiction and venue over the claims asserted in this Complaint.
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                       II. FACTS SUPPORTING CAUSES OF ACTION

                                                  13.

         At approximately 13:25 on August 9, 2019, Defendant Bennie Caldwell (“Defendant

Caldwell”) was operating a tractor-trailer eastbound on Avondale Mill Road in Macon, Georgia.

                                                  14.

         At the time, Defendant Caldwell may have been an agent and/or employee of and was acting

in the course and scope of his employment and in furtherance of the business of Defendant CS

Transport Inc.

                                                  15.

         At the time, Defendant Caldwell may have been an agent and/or employee of and was acting

in the course and scope of his employment and in furtherance of the business of Defendant Rebecca

Stone.

                                                  16.

         At the time, Defendant Caldwell may not have been an agent and/or employee of and was

acting in the course and scope of his employment and in furtherance of the business of Defendant

Rebecca Stone or CS Transport, Inc. Defendant Nationwide Insurance Company of America insures

Defendant Caldwell and furthermore is also liable for the injuries to Plaintiff Densley.

                                                  17.

         On August 9, 2019, Plaintiff Trevor Densley (“Plaintiff Densley”) was operating his motor

vehicle in a careful, prudent, and lawful manner on Avondale Mill Road in Macon, Bibb County,

Georgia.

                                                  18.
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        Plaintiff Densley was behind Defendant Caldwell when suddenly and without warning,

Defendant Caldwell, began to improperly back.

                                                  19.

        Plaintiff Densley sustained both physical and emotional injuries as a proximate result of the

collision.

                                                  20.

        Plaintiff Densley was an innocent victim who in no way contributed to causing the collision or

any injury to himself on August 9, 2019.

                                                  21.

        Plaintiff Densley did nothing to contribute to his own injuries.

                                                  22.

        As a direct and proximate result of the aforementioned collision, Plaintiff Densley has suffered

and continues to suffer damages including, but not limited to, medical expenses, lost wages, personal

injuries, and past, present, and future pain and suffering for which Defendant Caldwell is liable.

                                                  23.

        The collision was caused by the negligence of Defendant Caldwell, Defendant Stone, and

Defendant CS Transport, Inc, which are liable.

                                                  24.

        The collision was foreseeable to each of the Defendants and could have been avoided had said

Defendants acted in a safe and prudent manner as required by Georgia law and in accordance with the

standards required of commercial truck drivers and motor carriers.

                                                  25.
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        On August 9, 2019, Defendant Nationwide Insurance Company of America Policy Number

LFO0003495 was in force and covered Defendant Caldwell, and Defendant CS Tranport, Inc. for their

liability for the collision and injuries and damages caused thereby.



                                                   26.

        Prior to, during, and after the wreck, Plaintiff Densley experienced shock, fright, and terror.

                                                   27.

        Plaintiff Densley suffered severe and painful injuries to his body and mind as a result of the

collision.



                                  III. CAUSES OF ACTION
                 Count One – Defendant Caldwell’s Negligence & Negligence Per Se

                                                   28.

        Plaintiff incorporates herein by reference the allegations of the previous paragraphs of this

Complaint for Damages as if each were fully set forth herein in their entirety.

                                                   29.

        Defendant Caldwell had a duty to operate his commercial vehicle in compliance with at least

the following:

a.      the laws of the State of Georgia;

b.      the Federal Motor Carrier Safety Regulations;

c.      Trucking industry standards and guidelines governing the safe operation of a commercial motor

vehicle;

d.      Corporate standards and guidelines imposed upon him by the motor carrier(s) for whom he was

driving; and
        Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 8 of 74




e.     Reasonable care for a commercial truck driver under the circumstances.




                                                  30.

       Defendant Caldwell breached the above-referenced duties in at least the following ways:

a.     Failing to maintain a proper lookout;

d.     Failing to yield the right of way to Plaintiff Densley;

e.     Failing to operate his commercial vehicle in a careful, prudent, and lawful manner;

f.     Violating the Georgia Uniform Rules of the Road including O.C.G.A. § 40-6-240 (Improper

Backing), which constitutes negligence per se;

g.     Violating Federal Motor Carrier Safety Regulations, the violation of which constitutes

negligence per se; and,

h.     Otherwise failing to adhere to trucking industry standards and guidelines governing the safe

operation of commercial motor vehicles, corporate standards and guidelines governing the safe

operation of commercial motor vehicles and reasonable prudence under the circumstances.

                                                  31.

       As a direct and proximate result of the aforementioned negligent acts and omissions by

Defendant Caldwell, the commercial vehicle operated by Defendant Caldwell collided with Plaintiff

Densley’s vehicle.



                                                  32.
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       As a direct and proximate result of the aforementioned negligent acts and omissions by

Defendant Caldwell, Plaintiff Densley has sustained injuries and damages for which Defendant

Caldwell is liable.



             Count Two –Defendant Rebecca Stone’s Negligence & Negligence Per Se

                                                    33.

       The collision and the injuries and damages to Plaintiff was the proximately caused by the

acts of negligence of Defendant Caldwell which are imputable to Defendant Rebecca Stone

pursuant to O.C.G.A. §51-2-2, because Defendant Stone is the owner of the vehicle and was

negligent in the following particulars:

       (a)      In negligently entrusting the operation of the vehicle involved in the subject

collision to Defendant Caldwell because of his inexperience in driving which was or should have

been known to Defendant Stone at the time of the incident complained of. Defendant Stone is

therefore liable jointly and severally to Plaintiff for the damages which he sustained as a result of

the negligence of said Defendants.


                                                34.

        The acts of negligence by Defendant were the proximate cause of the injuries and

 damages of the Plaintiff as hereinafter alleged.


                                                    35.

       Plaintiff incorporates herein by reference the allegations of the previous paragraphs of this

Complaint for Damages as if each were fully set forth herein in their entirety.


             Count Three – Respondeat Superior Against Defendant CS Transport, Inc.
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                                                   36.

       Plaintiff incorporates herein by reference the allegations of the previous paragraphs of this

Complaint for Damages as if each were fully set forth herein in their entirety.

                                                   37.

       At all times material hereto, Defendant Caldwell was acting within the course and scope of his

employment and/or agency with Defendants Stone and CS Transport, Inc.. and was furthering the

business interests of Defendant CS Transport, Inc.

                                                   38.

       Defendant CS Transport, Inc. is liable under the doctrine of respondeat superior and the rules

of agency for all injuries and damages to Plaintiff Densley caused by the tortious acts and omissions

of Defendant Caldwell.

                                                   39.

       As an employer and motor carrier, CS Transport, Inc. has certain duties and responsibilities

under the Federal Motor Carrier Safety Regulations, Georgia law, trucking industry standards and

practices, and its own corporate policies, standards, and practices regarding the hiring, training,

entrusting, supervising, and retaining of Defendant Caldwell as well as duties to properly inspect and

maintain its vehicles, and the duty to otherwise establish and implement necessary management

controls and systems for the safe operation of its motor vehicle.

                                                   40.

       To the degree that the foregoing breaches of duties contributed to cause injuries and damages

to Plaintiff Densley, Defendant is independently liable for the same.

                                                   41.
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       Defendant Caldwell and Defendant CS Transport, Inc. are liable to Plaintiff for all damages

allowed by law for the injuries, damages, and losses sustain by Plaintiff as a result of the negligence

of Defendant Caldwell and Defendant CS Transport, Inc.



       Count Four — Direct Action Against Nationwide Insurance Company of America

                                                  42.

       Plaintiff incorporates herein by reference the allegations of the previous paragraphs of this

Complaint for Damages as if each were fully set forth herein in their entirety.

                                                  43.

       On August 9, 2019, Defendant CS Transport, Inc. had in place liability insurance policy, policy

number LFO0003495, covering the 2013 Freightliner Cascadia 125 involved in the wreck and

Defendant CS Transport, Inc.’s employees and/or agents, including Defendant Caldwell.

                                                  44.

       Defendant Nationwide Insurance Company of America was transacting business in the State

of Georgia and in Bibb County on the date of the subject wreck, and all material times hereto.

                                                  45.

       Defendant Nationwide Insurance Company of America agreed to provide insurance coverage

to Defendant Caldwell, and Defendant CS Transport, Inc. in consideration for the payment of insurance

premiums.

                                                  46.

       Plaintiff Densley as a member of the public injured due to a common carrier’s negligence, is a

third-party beneficiary to the agreement between Defendant Nationwide Insurance Company of

America, Defendants Caldwell, and Defendant CS Transport, Inc.
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                                                   47.

        Pursuant to O.C.G.A. § 40-1-112 and O.C.G.A. § 40-2-140, Defendant Nationwide Insurance

Company of America is subject to this direct action.

                                                   48.

        Plaintiff is entitled to receive payments from Defendant Nationwide Insurance Company of

America for the tort liability of Defendant Caldwell, and Defendant CS Transport, Inc.



                              Count Four - Joint and Several Liability
                                                   49.
        Plaintiff re-alleges and reincorporate by reference the allegations of the previous paragraphs of

this Complaint for Damages as if fully set forth herein verbatim.

                                                   50.

        Defendants jointly and concurrently committed tortuous acts and omissions. Accordingly, all

Defendants are jointly and severally liable to Plaintiff for the claims described herein.

                                           III. DAMAGES

                                                  51.
        Plaintiff incorporates herein by reference the allegations of the previous paragraphs of this

Complaint for Damages as if each were fully set forth herein in their entirety.

                                                   52.

        As a result of the negligence of the Defendants, independently, vicariously, and collectively as

will be further developed through this action, Plaintiff Densley suffered physical and emotional

injuries.

                                                   53.
        Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 13 of 74




        As a direct and proximate result of the aforementioned negligent acts and omissions of the

Defendants, Plaintiff Densley is entitled to recover special damages including, but not limited to

medical expenses and lost wages, both past and future, in an amount to be proven at trial and in

amounts that will be itemized by Amendment to this Complaint.

                                                    54.

        As a direct and proximate result of the aforementioned negligent acts and omissions of the

Defendants, Plaintiff Densley is entitled to recover general damages including, but not limited to

physical and mental pain and suffering and disability to be determined by the enlightened conscience

of a jury.



                                      IV. PRAYER FOR RELIEF
                                                    55.

        WHEREFORE Plaintiffs pray for the following relief:

             a. That summons issue requiring the Defendants to appear as provided by law to answer

                this Complaint;

             b. That service be had on the Defendants as provided by law;

             c. That the Court empanel a jury for trial of all issues in this case;

             d. That the Plaintiff be awarded all damages allowed by law for all claims set forth herein;

             e. That all costs and expenses of litigation be cast against the Defendants;

             f. That the Plaintiff be awarded for punitive damages;

             g. That the Court award any and all further relief as it deems appropriate and just under

                the circumstances of this case.



        Respectfully submitted, this 10th day of September, 2020.
       Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 14 of 74




                                      /s/ Reza Sedgi
                                      Reza Sedghi
                                      Georgia State Bar No. 634077
2870 Vineville Avenue
Macon, Georgia 31204
Telephone: 478-741-3770
Facsimile: 478-741-3771
sedghilaw@gmail.com




                          SERVICE INSTRUCTIONS AS FOLLOWS:.


DEFENDANT Bennie Caldwell
2332 Taylor Road
Ashland, Alabama 36251
Franklin County

DEFENDANT Rebecca Stone
2332 Taylor Road
Ashland, Alabama 36251
Franklin County

DEFENDANT CS Transport, Inc.
Ben Willis, as Registered Agent for
CS Transport, Inc.
55 Lealander Road
      Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 15 of 74




Daviston, Alabama 36256
Tallapoosa County

DEFENDANT Nationwide Insurance Company of America
Corporation Service Company, As Registered Agent for
Nationwide Insurance Company of America
40 Technology Parkway South, #300
Norcross, Georgia, 30092
Gwinnett County
    Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 16 of 74

                                                                                             CLERK OF STATE COURT
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                                  STATE OF GEORGIA                                       20-SCCV-091825
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                          CIVIL ACTION NUMBER 20-SCCV-09) 825
              DE SLEY,TREVOR

              PLA INTIFF
                                                  vs.
              CALDWELL, BENNIE
              STO E, REBECCA
              CS TRANSPORT, INC.
              NATIONWIDE INSURANCE COMPA Y
              OF AMERICA
              DOE, JOHN
              JOH DOE, INC.




SERVE ON:       Rebecca Stone                                             CASE # 20-SCCV-09 1825
                2332 Taylor Road
                Ashland , AL 36251



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with the Summons, Comp laint for Damages, Certificate of Service of Discovery Mater ial. Genera l Civil
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        Case 5:20-cv-00410-MTT Document 1-1 Filed 10/21/20 Page 17 of 74

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                                    STATE OF GEORGIA
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                           CIVIL ACTIO         UMBER 20-SCCV-091825
              DENSLEY, TREVOR

              PLAINTIFF
                                                    vs.
              CALDWELL, BENNIE
              STO E, REBECCA
              CS TRA SPORT, I C.
              NATIONWlDE INSURA CECOMPA Y
              OF AMERICA
              DOE.JOHN
              JOHN DOE, INC.

              DEFENDA TS




                Bennie Caldwe ll  )                                       CASE# 20-SCCV-091825
                2332 Tay lor Road
                Ashland, AL 36251




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with the Summo ns, Compla int for Damages , Certificate of Service of Discovery Materia l, General Civil
and Domestic Relations Case Filing Informat ion Form, Plaintiffs First Interrogatories to Defendant Bennie
Caldwell, and Plaintiff s First Request For Production of Documents to Defendant Bennie Caldwell in the
above-noted case .




                                                                                   Daniel~anSlambrouck
                                                                                                    205-675-8287
                                                                                  6200Whippoorwill
                                                                                                Dr Pinson
                                                                                                        , AL35126

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                                                                                    CLERK OF STATE COURT
                                                                                    BIBB COUNTY, GEORGIA

                             IN THE STATE COURT OF BIBB COUNTY
                                                                                 20-SCCV-091825
                                                                                            SFL
                                                                                   SEP 10, 2020 04:13 PM
                                        STATE OF GEORGIA


TREVOR DENSLEY,                                      ]
                                                     ]
        Plaintiff,                                   ]      CIVIL ACTION NO.
                                                     ]
vs.                                                  ]
                                                     ]
BENNIE CALDWELL, REBECCA STONE, CS                   ]
TRANSPORT, INC., NATIONWIDE                          ]
INSURANCE COMPANY OF AMERICA,                        ]
JOHN DOE, And JOHN DOE, Inc.                         ]
                                                     ]
       Defendants.                                   ]
__________________________________________           ]


         PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                       AND THINGS TO REBECCA STONE

      To: Rebecca Stone


         Pursuant to Official Code of Georgia Annotated §9-11-34(c), you are hereby requested
 to produce the following designated documents and things, and permit Plaintiff, or someone
 acting on Plaintiff’s behalf, to inspect and copy these documents and things, which constitute
 or contain matters within the scope of §9-11-26(b) of said law, and which are in your
 possession, custody and control.

         PERSONAL COMPLIANCE: You are to produce the documents and things
 hereinbelow designated at 10:00 o'clock a.m. on the 45th day after service of this request upon
 you, in the law office of Reza Sedghi, 2870 Vineville Avenue, Macon, Georgia 31204.

         ALTERNATIVE COMPLIANCE BY MAIL ACCEPTABLE: As an alternative
 to personally producing these things requested, at the time, date and place above specified, you
 may comply with this request by photocopying true, correct and genuine copies of such
 requested material and attaching these photocopies to your formal response to this request and
 serve same by mail addressed to the undersigned attorney at the law office of Reza Sedghi,
 2870 Vineville Avenue, Macon, Georgia 31204, within forty-five (45) days from the date of
 service of these requests.

         CONTINUING DUTY TO SUPPLEMENT YOUR RESPONSE: Should any
 documents or thing herein requested come into existence or become known to you or your
 attorney subsequent to your receipt of these requests or subsequent to the inspection or other
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means or producing said documents or things hereinbelow requested, these requests shall be
deemed to be continuing in nature.

      DEFINITIONS: When used in this production request, the following terms have the
meaning set out:

       “Account”, means a bank account, investment account, loan account, credit card
account, or savings account.

       "Communication" means any oral or written utterance, notation, or statement of any
nature whatsoever, by and to whomever made, including but not limited to, correspondence,
conversation, dialogues, discussions, interviews, consultations, agreements, and other
understandings between or among two or more persons.

        "Defendant" or any synonym thereof is intended and shall embrace and include, in
addition to the defendant to whom this request is directed, all agents, servants, representatives,
attorneys, private investigators, and others who are in a position to or may have obtained
information for or on behalf of the defendant.

        "Documents and Things" means any medium upon which intelligence or information
can be recorded or retrieved, and includes, without limitation, the original and each copy,
regardless of origin and location, of any book, pamphlet, periodical, letter, memorandum
(including any memorandum or report of a meeting or conversation), invoice, bill, order form,
receipt, financial statement, accounting entry, diary, calendar, telex, telegram, cable, report,
record, contract, agreement, study, handwritten note, draft, working paper, chart, paper, print,
laboratory record, drawing, sketch, graph, index, list, tape, photograph, microfilm, data sheet,
data processing card, or any other written, recorded, transcribed, punched taped, filmed or
graphic matter, however, produced or reproduced.

       "Person" means any natural individual in any capacity whatsoever or any entity or
organization, including divisions, departments, and other units therein, and shall include, but
not be limited to, a public or private corporation, partnership, joint venture, voluntary or
unincorporated association, organization, proprietorship, trust, estate, governmental agency,
commission, bureau, department, or private company.

        "You" or "yourself" refers to the defendant to whom this request is directed, its
officers, directors, agents, representatives, accountants and attorneys, and others who may have
or who may be able to obtain information on behalf of said defendant.


       THE DOCUMENTS AND THINGS REQUESTED ARE:

        1.       Insurance policies: A full and complete certified copy of each and every
insurance policy which does or might provide coverage to Plaintiff or its employees for the
accident in question, including all endorsements or riders relating thereto, including, but not
limited to, any and all liability coverage which covered said company, the subject driver, or
the vehicle being driven by Plaintiff at the time of the collision, along with the application for
such insurance.

       2.        Driving history: All records pertaining to Plaintiff’s driving history.
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        3.      Vehicle title: The title to the vehicle involved in the collision, or in lieu
thereof, a photocopy of the same.

        4.      Background checks: Certified copies of reports or results of any
investigation by you into the driving background of Plaintiff.

       5.       Visual memoranda: Any and all photographs, videotapes, or movies which
you, your attorney, expert witness, investigator, insurance carrier, or other agent,
representative, or employee has possession of or which is in the control of said person(s),
which pertains to any facts relevant to any issue in this lawsuit, including liability and
damages.

       6.      Policies and programs: With respect to your policies and programs, you are
requested to produce copies of the following documents and items:
       6.1.    Driver standards; and
       6.2.    Driver compensation.

        7.       Hiring policies: All books, manuals, guidelines and other memoranda used
from the date of Plaintiff’s initial hire to the present in the administration or operation of
Defendant Cs Transport, Inc.’s fleet which outline the appropriate procedures, protocols,
policies and standards of care for the hiring of truck drivers, including those containing the
manner of inquiry into the driving history of such prospective employees, the effect of any
negative findings, and the factors which would render any such prospective employee
unsuitable for employment.

        8.        Training procedures: All documents describing the appropriate training
procedures, training classes, or other training methods used by Defendant CS Transport,
Inc.’s in the training of truck drivers, as well as any such documents used or compiled
during the training of Defendant Caldwell.


        9.       Visual memoranda: All diagrams, maps, drawings, photographs,
videotapes or movies which you, your attorney, expert witness, investigator, insurance carrier
or other agent, representative or employee has possession of or which is in the control of said
person, which pertains to any facts relevant to any issue in this lawsuit, including liability as
well as damages.

         10.      Statements: All statements of anyone having knowledge of this accident,
whether written or oral, which you, your attorney, expert witness, investigator, insurance
carrier or other agent, representative or employee has possession of or which is in the control
of said person, which pertains to any facts relevant to any issue in this lawsuit, including
liability as well as damages.

         11.       Physical and expert memoranda: All reports, diagrams, models, charts,
test results, records, graphs, and notes pertaining to facts relevant to any issue in this lawsuit,
including, but not limited to, those of each and every expert whom you intend to call to
testify at trial and of each and every expert used for consultation, if said expert's work
product forms a basis, in whole or in part, of the opinion of an expert who will be called as a
witness.
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        12.     Investigative reports: All investigative reports, evaluations or other
documents or communications, in writing, which you, your attorney, expert witness,
investigator, insurance carrier or other agent, representative or employee has possession of or
which is in the control of said person, which pertains to any facts relevant to any issue in this
lawsuit, including liability as well as damages.

         13.      Qualifications of expert: A current curriculum vitae of each and every
expert whom you intend to call to testify at trial and of each and every expert used for
consultation, if said expert's work product forms a basis, in whole or in part, of the opinion of
an expert who will be called as a witness, as well as a list as to each of every article, treatise,
text, or published writing authored or contributed to by such expert, identifying same by title,
volume, page number, and date of publication.


        14.      Memoranda: All notes, memos, or other writings prepared or maintained by
you or your subject driver concerning the vehicle involved in the subject collision, including,
but not limited to, maintenance requests, files, personal files, and diaries.

        15.      Safety program records: All records relating to any safety program which
Plaintiff requires its drivers to participate in for a period of five years immediately preceding
the subject collision.


        16.      Maintenance records: Any and all maintenance records, papers, repair
records, data bases, and papers regarding replacement of any and all parts replaced or
repaired on the vehicle involved in the subject collision; this includes checks, purchase
orders, or any other papers reflecting repair or replacement of parts and inspection
information prior to the subject collision.

        17.      Claims memoranda: Copies of all claims made by you or against you, or to
any insurance company on your behalf, as to any property, including the subject vehicle and
the cargo it was carrying, involved in the subject collision.


      18.    Employment and personnel file: All records pertaining to Defendant Guest,
however denominated by you, including her complete employment and personnel file.

       This 10th day of
       September, 2020.
                                                       /s/ Reza Sedghi
                                                       REZA SEDGHI
                                                       Attorney for Plaintiff
                                                       State Bar No. 634077

2870 Vineville Avenue
Macon, GA 31204
(478) 741-3770 office
(478) 741-3770 fax
www.sedghilaw@gmail.com
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                                                                                     CLERK OF STATE COURT
                                                                                     BIBB COUNTY, GEORGIA

                             IN THE STATE COURT OF BIBB COUNTY
                                                                                  20-SCCV-091825
                                                                                             SFL
                                                                                    SEP 10, 2020 04:13 PM
                                        STATE OF GEORGIA


TREVOR DENSLEY,                               ]
                                                        ]
       Plaintiff,                                       ]    CIVIL ACTION NO.
                                                        ]
vs.                                                     ]
                                                        ]
BENNIE CALDWELL, REBECCA STONE, CS                      ]
TRANSPORT, INC., NATIONWIDE       ]
INSURANCE COMPANY OF AMERICA,                           ]
JOHN DOE, And JOHN DOE, Inc.                            ]
                                                        ]
       Defendants.                                      ]
__________________________________________]


                      PLAINTIFF’S FIRST INTERROGATORIES TO
                                     Rebecca Stone
                         (Served Simultaneously with Complaint)

        COMES NOW Plaintiff Trevor Densley and files this his First Interrogatories to
 Defendant Rebecca Stone which must be answered fully, completely and under oath within
 forty-five (45) days of service, as provided by law.
                                        DEFINITIONS
        As used herein, the terms listed below are defined as follows:
        1. The term “Document” as used herein shall be given a very broad definition to
 include every type of paper, writing, data, record, graphic, drawing, photograph, audio
 recording and video recording. The term includes material in all forms, including printed,
 written, recorded, or other. The term includes all files, records and data contained in any
 computer system, computer component and/or computer storage (e.g. hard drive, disc,
 magnetic tape, backup system, etc.). This term includes, but is not limited to, correspondence,
 reports, meeting minutes, memoranda, stenographic or handwritten notes, diaries, notebooks,
 account books, orders, invoices, statements, bills, checks, vouchers, purchase orders, studies,
 surveys, charts, maps, analyses, publications, books, pamphlets, periodicals, catalogues,
 brochures, schedules, circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-
 mail attachments, data sheets, work sheets, statistical compilations, data processing cards,
 microfilms, computer records (including printouts, disks or other magnetic storage media),
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tapes, photographs (positive or negative prints), drawings, films, videotapes, hard drive
recordings, pictures, and voice recordings. Plaintiff expressly intends for the term
“Document” to include every copy of such writing, etc. when such copy contains any
commentary or notation whatsoever that does not appear on the original and any attachments
or exhibits to the requested document or any other documents referred to in the requested
document or incorporated by reference.
       2. “Person” means any natural person, corporation, partnership, proprietorship,
association, organization, group of persons, or any governmental body or subdivision thereof.
       3. (a) “Identify” with respect to any “person” or any reference to stating the
“identity” of any “person” means to provide the name, home address, telephone number,
business name, business address, and business telephone number of such person, and a
description of each such person’s connection with the events in question.
         (b) “Identify” with respect to any “document” or any reference to stating the
“identification” of any “document” means to provide the title and date of each such
document, the name and address of the party or parties responsible for the preparation of each
such document, the name and address of the party who requested or required the preparation
of the document or on whose behalf it was prepared, the name and address of the recipient or
recipients of each such document, and the names and addresses of any and all persons who
have custody or control of each such document, or copies thereof.
       4. “Subject Incident” means the collision between Bennie Caldwell,
driver for CS Transport, INC., and Trevor Densley, which occurred on August 9,
2019 at or around in Bibb County, Georgia
       5. “You,” “Your,” or “Rebecca Stone means Rebecca Stone.
       6. “Similar” shall have the meaning given in the American Heritage Dictionary,
which is “showing some resemblance; related in appearance or nature; alike but not
identical.” As used here, the word “similar” shall not be limited as if modified by the word
“substantially” and shall not mean “the same”. If you limit the information provided because
you use another interpretation of the word “similar,” please state your interpretation you are
using and reveal the nature of the information withheld.
       7. The terms “and” as well as “or” shall be each construed conjunctively and
disjunctively as necessary to bring within the scope of each interrogatory and request for
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documents all information and documents that might otherwise be construed to be outside its
scope. The term “and/or” shall be construed likewise.
           8. Whenever necessary to bring within the scope of an interrogatory or request for
production of documents any information or document that might otherwise be construed to
be outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb
in all other tenses; (ii) the use of the singular shall be construed as the use of the plural and
vice versa; and (iii) “any” includes “all,” and “all” includes “any.”
           9. With regard to any term used herein that is deemed by the responding party as
being ambiguous or vague, a term shall be construed in its broadest sense to encompass all
reasonable definitions of that term.
INTERROGATORY NO. 1
           Please identify any and all policies of insurance issued for Defendant Stone or any
related or subsidiary thereof or any other entity that have coverages that apply or that may
apply to the incident that forms the basis for the above-styled action to include policy
numbers and types and limits of such coverage, including, but not limited to any automobile
insurance policy applicable to the following vehicle:
              •   2013 Freightliner Cascadia 125, VIN: 1FVXA700XDLBY3357 operated
                  by Defendants at the time of the Subject Wreck.


INTERROGATORY NO. 2
           Please give the name, policy number and limits of liability coverage for the August 9,
2019, wreck of any insurance or bonding company which may be liable to satisfy part or all
of any judgment entered against any defendant in the above-captioned action, or to indemnify
or reimburse any of them for any payments made to satisfy any such judgment; and, state the
contents of any such insurance or bonding agreement as to the limits of liability contained
therein.
INTERROGATORY NO. 3
           Please describe the nature of the relationship between Defendant Stone and Defendant
Bennie Caldwell, including, but not limited to, whether Defendant Caldwell was a company
driver, temporary driver, owner-operator or lease operator, or otherwise and describe who
was Defendant Caldwell’s employer, statutory or otherwise, on August 9, 2019, while he was
operating the subject tractor involved in subject collision.
INTERROGATORY NO. 4
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       Please describe the business relationship existing on or prior to August 9, 2019
between you and any Defendant and any other entity or individual, and whether any written
agreement including any insurance or indemnity agreement, existed with regard to the vehicle
Defendant Caldwell was operating on August 9, 2019, and with regard to Defendant
Caldwell.

        INTERROGATORY NO. 5
       Please identify any and all individuals so that they may be located who have
knowledge of any facts or circumstances of the occurrence made the basis of this suit and,
based on the best information you have available, please state the facts and/or circumstances
that you believe to be within the knowledge of each such person.
INTERROGATORY NO. 6
       Please "identify" each and every person, not previously identified, who, according to
the best information you have available, you believe has knowledge of facts and
circumstances relevant to this case including the Plaintiff's injuries and treatment.
INTERROGATORY NO. 7
       Have you obtained any statements or reports, written or otherwise, from anyone in
connection with the occurrence made the basis of this suit? If so, please "identify" each such
statement and/or report.
INTERROGATORY NO. 8
       Do you have, or know of, any sketches, diagrams, photographs, motion pictures,
maps, drawings, models, measurements, surveys, or other such matter having to do with the
vehicles involved, the occurrence made the basis of this action or the scene of the
occurrence? If so, please "identify."
INTERROGATORY NO. 9
       Please "identify" any and all documentary or other tangible evidence, not previously
identified, which, according to the best information you have available, you believe
demonstrates and/or supports facts relevant to this case.
INTERROGATORY NO. 10
       Do you contend Plaintiff acted in such a manner as to cause or contribute to the
occurrence made the basis of this suit? If so, please set forth each and every fact upon which
your contention is based.
INTERROGATORY NO. 11
       Identify each and every person answering, or providing information for the
answering, of these interrogatories. If more than one person has answered or provided
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information, please indicate who has answered which questions and provided what
information.
INTERROGATORY NO. 12
       State whether you have a copy of any statement which Plaintiff has previously made
concerning the action or its subject matter and which is in your possession, custody or
control.


INTERROGATORY NO. 13
       State in detail your contention as to how the collision occurred and state specifically
and in detail what your claim, opinion or contention will be regarding any cause or
contributing cause of the collision, including a statement in detail of the facts or information
upon which your claim, opinion or contention is based.


INTERROGATORY NO. 14
       If you contend or allege the vehicle named in Interrogatory No. 1 was/is not entitled
to liability motorist coverage under any policy of insurance issued by you or any subsidiary
or related entity to Plaintiff for their claims in this lawsuit, specifically set forth the basis of
your contention, and identify each document relied upon by you to support that contention or
allegation.
INTERROGATORY NO. 15
       Describe any information you have, or any reason you have, to believe Plaintiff
Densley’s medical treatment, claimed to have been incurred as a result of the collision, was
not reasonable and necessary or related to the collision at issue, and identify the source(s) of
your information supporting that indication or belief.


INTERROGATORY NO. 16
       Describe any information you have, or any reason you have, to believe Plaintiff
Densley’s medical expenses, claimed to have been incurred as a result of the collision, were
not reasonable or customary or related to the collision at issue, and identify the source(s) of
your information supporting that indication or belief.
INTERROGATORY NO. 17
       Do you dispute that the Defendant Caldwell was an insured under your policy at the
time of the collision made the basis of this lawsuit? If so, please set forth in detail the basis
for your dispute, and identify any source(s) of information which supports your dispute.
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INTERROGATORY NO. 18
       Describe in detail any relevant conversations you (or any of your representatives)
have had with:
(a)    Plaintiff (or any of Plaintiff’s representatives);
(b)    Any law enforcement official; and
(c)    Any other person.


INTERROGATORY NO. 19
       Describe in detail any settlement, agreement, deal, or other understanding of any kind
whatsoever, tentative or reached with any other person, firm, corporation, partnership,
insurer, or legal entity whatsoever in respect to the subject collision. This interrogatory seeks
but is not limited to information concerning agreements or understandings of any kind
whatsoever, including past, present, or future settlements, deals, agreements, understandings,
and conduct by or between you and any other person or legal entity whatsoever.




INTERROGATORY NO. 20
       Please set forth in detail every fact or contention or opinion you allege supports any

affirmative defense raised in your Answer to Plaintiff’s Complaint.

INTERROGATORY NO. 21

Documents: Identify each document which you know or believe to exist concerning this
accident, and as to each summarize its contents.
INTERROGATORY NO. 22

Visual and audio memoranda: Identify each and every photograph, audiotape, videotape,
sound recording, movie, film, map, diagram, or drawing which you know or believe to exist,
describing each as to what it shows, when it was made, who made it and who has possession
of it now, concerning either the accident, the accident site or how it happened, as well as any
of the Plaintiffs, or anyone else having knowledge of this case, specifically including any
photos, audio or video tapes made in the course of surveillance or investigation.
INTERROGATORY NO. 23
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Witnesses and other persons having knowledge of relevant information: Identify all
persons believed or known by you to have any knowledge or information concerning any
aspect of this case, and as to each such person, summarize their knowledge of such facts.
INTERROGATORY NO. 24

Expert witnesses to be called: Identify each person whom you intend to call as expert
witnesses at trial, and for each such expert specify:
the subject matter on which he or she is expected to testify;
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        1.1.    the substance of the facts and opinions to which he or she is expected to
                testify; and
        1.2.    a summary of the grounds for each opinion to which he or she will testify.
INTERROGATORY NO. 25

Investigators: Identify each person (including law enforcement officers, adjusters,
private investigators and any others) who has conducted any investigation of the subject
accident or of any person connected with it. As to each such investigator:
        1.3.    state the agency for whom each worked, and if a private agency, who
                employed that agency and investigator;
        1.4.    state what each did in conducting his or her investigation and what the
                subject of each investigation was; and
        1.5.    identify each document or recording generated by such investigation,
                stating the date, subject and who made it.
INTERROGATORY NO. 26

Whereabouts preceding collision: State fully the point of departure for each trip, the
route taken, the destination, what stops were made, and what cargo was picked up or
discharged along the way, with the relevant times for each of Defendant Caldwell for
twenty four hours prior to and on the date of this collision.
INTERROGATORY NO. 27

Description of collision: Describe in reasonably complete detail your version of how
this collision happened, stating the following matters specifically:
INTERROGATORY NO. 28

Acts of plaintiff: With respect to plaintiff’s state:
        1.6.    every act of negligence of plaintiff’s which you contend caused or
                contributed to the accident;
        1.7.    every action that you contend plaintiff’s should have taken to avoid the
                collision;
        1.8.    every law, statute, ordinance, or regulation which you contend plaintiff’s
                violated.
INTERROGATORY NO. 29
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Statements after occurrence: Identify each and every statement (either written or oral)
you gave to anyone, or took or received from any person who had information or
knowledge relating to this matter; as to each such statement, summarize the contents
thereof.
INTERROGATORY NO. 30

Damage to truck: Identify with particularity the damage done to the subject truck in the
collision, stating what parts were damaged and exactly what repair work was done, what
parts were repaired or replaced, and who did the repair work.
INTERROGATORY NO. 31

Driving tests: Please identify all driving tests which you are aware of Defendant
Caldwell having taken in the ten years immediately preceding the accident, and state the
following: the full name and address of the person or persons who administered any type
of driving test (whether by the State or an employer), and who in any way checked
driving record and abilities prior to allowing Defendant Caldwell to operate the vehicle in
question.
INTERROGATORY NO. 32

Prior Convictions: Please state if you are aware of any prior convictions of, or pleaded
guilty or nolo contendere to, or forfeited a bond as to any criminal offense, including
traffic violations of Defendant Caldwell? If so, list:
       1.9.    the date of each such citation, conviction and plea;
       1.10.   the court, city, and state of each such conviction or plea;
       1.11.   the nature of the offense; and
       1.12.   the disposition of the charge including nolo contendere pleas and bond
               forfeitures.
INTERROGATORY NO. 33

Other incidents involving driver: State whether you are aware of any other motor
vehicle collisions and incidents, other than the collision forming the basis of this lawsuit
involving Defendant Caldwell. Please state whether involving one vehicle or more than
one vehicle, and whether there was an injury or just property damage, and, if so, state as
to each:
       1.13.   date and location;
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      1.14.   names of other drivers and injured parties;
      1.15.   nature of injuries and amount of property damage;
      1.16.   what happened to cause each such collision or incident;
      1.17.   whether you were issued a citation as to each.;
      1.18.   whether any civil lawsuits were filed or insurance claims were made.


      Respectfully submitted, this 10th day of September, 2020.



                                            /s/ Reza Sedghi
                                            Reza Sedghi
                                            Georgia State Bar No. 634077
2870 Vineville Avenue
Macon, Georgia 31204
Telephone: 478-741-3770
Facsimile: 478-741-3771
sedghilaw@gmail.com
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                                                                                    CLERK OF STATE COURT
                                                                                    BIBB COUNTY, GEORGIA

                              IN THE STATE COURT OF BIBB COUNTY
                                                                                 20-SCCV-091825
                                                                                            SFL
                                                                                   SEP 10, 2020 04:13 PM
                                        STATE OF GEORGIA


TREVOR DENSLEY,                                      ]
                                                     ]
         Plaintiff,                                  ]      CIVIL ACTION NO.
                                                     ]
vs.                                                  ]
                                                     ]
BENNIE CALDWELL, REBECCA STONE, CS                   ]
TRANSPORT, INC., NATIONWIDE                          ]
INSURANCE COMPANY OF AMERICA,                        ]
JOHN DOE, And JOHN DOE, Inc.                         ]
                                                     ]
       Defendants.                                   ]
__________________________________________]


        PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
      AND THINGS TO BEN WILLIS As Registered Agent for CS TRANSPORT, INC.

      To: Ben Willis, As Registered Agent for CS Transport, Inc.
          55 Lealander Road
          Daviston, Alabama 36256


         Pursuant to Official Code of Georgia Annotated §9-11-34(c), you are hereby requested
 to produce the following designated documents and things, and permit Plaintiff, or someone
 acting on Plaintiff’s behalf, to inspect and copy these documents and things, which constitute
 or contain matters within the scope of §9-11-26(b) of said law, and which are in your
 possession, custody and control.

         PERSONAL COMPLIANCE: You are to produce the documents and things
 hereinbelow designated at 10:00 o'clock a.m. on the 45th day after service of this request upon
 you, in the law office of Reza Sedghi, 2870 Vineville Avenue, Macon, Georgia 31204.

         ALTERNATIVE COMPLIANCE BY MAIL ACCEPTABLE: As an alternative
 to personally producing these things requested, at the time, date and place above specified, you
 may comply with this request by photocopying true, correct and genuine copies of such
 requested material and attaching these photocopies to your formal response to this request and
 serve same by mail addressed to the undersigned attorney at the law office of Reza Sedghi,
 2870 Vineville Avenue, Macon, Georgia 31204, within forty-five (45) days from the date of
 service of these requests.

         CONTINUING DUTY TO SUPPLEMENT YOUR RESPONSE: Should any
 documents or thing herein requested come into existence or become known to you or your
 attorney subsequent to your receipt of these requests or subsequent to the inspection or other
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means or producing said documents or things hereinbelow requested, these requests shall be
deemed to be continuing in nature.

      DEFINITIONS: When used in this production request, the following terms have the
meaning set out:

       “Account”, means a bank account, investment account, loan account, credit card
account, or savings account.

       "Communication" means any oral or written utterance, notation, or statement of any
nature whatsoever, by and to whomever made, including but not limited to, correspondence,
conversation, dialogues, discussions, interviews, consultations, agreements, and other
understandings between or among two or more persons.

        "Defendant" or any synonym thereof is intended and shall embrace and include, in
addition to the defendant to whom this request is directed, all agents, servants, representatives,
attorneys, private investigators, and others who are in a position to or may have obtained
information for or on behalf of the defendant.

        "Documents and Things" means any medium upon which intelligence or information
can be recorded or retrieved, and includes, without limitation, the original and each copy,
regardless of origin and location, of any book, pamphlet, periodical, letter, memorandum
(including any memorandum or report of a meeting or conversation), invoice, bill, order form,
receipt, financial statement, accounting entry, diary, calendar, telex, telegram, cable, report,
record, contract, agreement, study, handwritten note, draft, working paper, chart, paper, print,
laboratory record, drawing, sketch, graph, index, list, tape, photograph, microfilm, data sheet,
data processing card, or any other written, recorded, transcribed, punched taped, filmed or
graphic matter, however, produced or reproduced.

       "Person" means any natural individual in any capacity whatsoever or any entity or
organization, including divisions, departments, and other units therein, and shall include, but
not be limited to, a public or private corporation, partnership, joint venture, voluntary or
unincorporated association, organization, proprietorship, trust, estate, governmental agency,
commission, bureau, department, or private company.

        "You" or "yourself" refers to the defendant to whom this request is directed, its
officers, directors, agents, representatives, accountants and attorneys, and others who may have
or who may be able to obtain information on behalf of said defendant.


       THE DOCUMENTS AND THINGS REQUESTED ARE:

        1.       Insurance policies: A full and complete certified copy of each and every
insurance policy which does or might provide coverage to Plaintiff or its employees for the
accident in question, including all endorsements or riders relating thereto, including, but not
limited to, any and all liability coverage which covered said company, the subject driver, or
the vehicle being driven by Plaintiff at the time of the collision, along with the application for
such insurance.

       2.        Driving history: All records pertaining to Plaintiff’s driving history.
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        3.      Vehicle title: The title to the vehicle involved in the collision, or in lieu
thereof, a photocopy of the same.

        4.      Background checks: Certified copies of reports or results of any
investigation by you into the driving background of Plaintiff.

       5.       Visual memoranda: Any and all photographs, videotapes, or movies which
you, your attorney, expert witness, investigator, insurance carrier, or other agent,
representative, or employee has possession of or which is in the control of said person(s),
which pertains to any facts relevant to any issue in this lawsuit, including liability and
damages.

       6.      Policies and programs: With respect to your policies and programs, you are
requested to produce copies of the following documents and items:
       6.1.    Driver standards; and
       6.2.    Driver compensation.

        7.       Hiring policies: All books, manuals, guidelines and other memoranda used
from the date of Plaintiff’s initial hire to the present in the administration or operation of
Defendant Cs Transport, Inc.’s fleet which outline the appropriate procedures, protocols,
policies and standards of care for the hiring of truck drivers, including those containing the
manner of inquiry into the driving history of such prospective employees, the effect of any
negative findings, and the factors which would render any such prospective employee
unsuitable for employment.

        8.        Training procedures: All documents describing the appropriate training
procedures, training classes, or other training methods used by Defendant CS Transport,
Inc.’s in the training of truck drivers, as well as any such documents used or compiled
during the training of Defendant Caldwell.


        9.       Visual memoranda: All diagrams, maps, drawings, photographs,
videotapes or movies which you, your attorney, expert witness, investigator, insurance carrier
or other agent, representative or employee has possession of or which is in the control of said
person, which pertains to any facts relevant to any issue in this lawsuit, including liability as
well as damages.

         10.      Statements: All statements of anyone having knowledge of this accident,
whether written or oral, which you, your attorney, expert witness, investigator, insurance
carrier or other agent, representative or employee has possession of or which is in the control
of said person, which pertains to any facts relevant to any issue in this lawsuit, including
liability as well as damages.

         11.       Physical and expert memoranda: All reports, diagrams, models, charts,
test results, records, graphs, and notes pertaining to facts relevant to any issue in this lawsuit,
including, but not limited to, those of each and every expert whom you intend to call to
testify at trial and of each and every expert used for consultation, if said expert's work
product forms a basis, in whole or in part, of the opinion of an expert who will be called as a
witness.
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        12.     Investigative reports: All investigative reports, evaluations or other
documents or communications, in writing, which you, your attorney, expert witness,
investigator, insurance carrier or other agent, representative or employee has possession of or
which is in the control of said person, which pertains to any facts relevant to any issue in this
lawsuit, including liability as well as damages.

         13.      Qualifications of expert: A current curriculum vitae of each and every
expert whom you intend to call to testify at trial and of each and every expert used for
consultation, if said expert's work product forms a basis, in whole or in part, of the opinion of
an expert who will be called as a witness, as well as a list as to each of every article, treatise,
text, or published writing authored or contributed to by such expert, identifying same by title,
volume, page number, and date of publication.


        14.      Memoranda: All notes, memos, or other writings prepared or maintained by
you or your subject driver concerning the vehicle involved in the subject collision, including,
but not limited to, maintenance requests, files, personal files, and diaries.

        15.      Safety program records: All records relating to any safety program which
Plaintiff requires its drivers to participate in for a period of five years immediately preceding
the subject collision.


        16.      Maintenance records: Any and all maintenance records, papers, repair
records, data bases, and papers regarding replacement of any and all parts replaced or
repaired on the vehicle involved in the subject collision; this includes checks, purchase
orders, or any other papers reflecting repair or replacement of parts and inspection
information prior to the subject collision.

        17.      Claims memoranda: Copies of all claims made by you or against you, or to
any insurance company on your behalf, as to any property, including the subject vehicle and
the cargo it was carrying, involved in the subject collision.


      18.    Employment and personnel file: All records pertaining to Defendant Guest,
however denominated by you, including her complete employment and personnel file.

       This 10th day of
       September, 2020.
                                                       /s/ Reza Sedghi
                                                       REZA SEDGHI
                                                       Attorney for Plaintiff
                                                       State Bar No. 634077

2870 Vineville Avenue
Macon, GA 31204
(478) 741-3770 office
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                                                                                     CLERK OF STATE COURT
                                                                                     BIBB COUNTY, GEORGIA

                             IN THE STATE COURT OF BIBB COUNTY
                                                                                  20-SCCV-091825
                                                                                             SFL
                                                                                    SEP 10, 2020 04:13 PM
                                        STATE OF GEORGIA


TREVOR DENSLEY,                                      ]
                                                     ]
       Plaintiff,                                    ]         CIVIL ACTION NO.
                                                     ]
vs.                                                  ]
                                                     ]
BENNIE CALDWELL, REBECCA STONE, CS                   ]
TRANSPORT, INC., NATIONWIDE                           ]
INSURANCE COMPANY OF AMERICA,                        ]
JOHN DOE, And JOHN DOE, Inc.                         ]
                                                     ]
       Defendants.                                   ]
__________________________________________]


                      PLAINTIFF’S FIRST INTERROGATORIES TO
                                 CS TRANSPORT, INC.
                         (Served Simultaneously with Complaint)

        COMES NOW Plaintiff Trevor Densley and files this his First Interrogatories to
 Defendant CS Transport, INC. which must be answered fully, completely and under oath
 within forty-five (45) days of service, as provided by law.
                                        DEFINITIONS
        As used herein, the terms listed below are defined as follows:
        1. The term “Document” as used herein shall be given a very broad definition to
 include every type of paper, writing, data, record, graphic, drawing, photograph, audio
 recording and video recording. The term includes material in all forms, including printed,
 written, recorded, or other. The term includes all files, records and data contained in any
 computer system, computer component and/or computer storage (e.g. hard drive, disc,
 magnetic tape, backup system, etc.). This term includes, but is not limited to, correspondence,
 reports, meeting minutes, memoranda, stenographic or handwritten notes, diaries, notebooks,
 account books, orders, invoices, statements, bills, checks, vouchers, purchase orders, studies,
 surveys, charts, maps, analyses, publications, books, pamphlets, periodicals, catalogues,
 brochures, schedules, circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-
 mail attachments, data sheets, work sheets, statistical compilations, data processing cards,
 microfilms, computer records (including printouts, disks or other magnetic storage media),
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tapes, photographs (positive or negative prints), drawings, films, videotapes, hard drive
recordings, pictures, and voice recordings. Plaintiff expressly intends for the term
“Document” to include every copy of such writing, etc. when such copy contains any
commentary or notation whatsoever that does not appear on the original and any attachments
or exhibits to the requested document or any other documents referred to in the requested
document or incorporated by reference.
       2. “Person” means any natural person, corporation, partnership, proprietorship,
association, organization, group of persons, or any governmental body or subdivision thereof.
       3. (a) “Identify” with respect to any “person” or any reference to stating the
“identity” of any “person” means to provide the name, home address, telephone number,
business name, business address, and business telephone number of such person, and a
description of each such person’s connection with the events in question.
         (b) “Identify” with respect to any “document” or any reference to stating the
“identification” of any “document” means to provide the title and date of each such
document, the name and address of the party or parties responsible for the preparation of each
such document, the name and address of the party who requested or required the preparation
of the document or on whose behalf it was prepared, the name and address of the recipient or
recipients of each such document, and the names and addresses of any and all persons who
have custody or control of each such document, or copies thereof.
       4. “Subject Incident” means the collision between Bennie Caldwell,
driver for CS Transport, INC., and Trevor Densley, which occurred on August 9,
2019 at or around in Bibb County, Georgia
       5. “You,” “Your,” or “CS Transport, INC.” means CS Transport, INC.
       6. “Similar” shall have the meaning given in the American Heritage Dictionary,
which is “showing some resemblance; related in appearance or nature; alike but not
identical.” As used here, the word “similar” shall not be limited as if modified by the word
“substantially” and shall not mean “the same”. If you limit the information provided because
you use another interpretation of the word “similar,” please state your interpretation you are
using and reveal the nature of the information withheld.
       7. The terms “and” as well as “or” shall be each construed conjunctively and
disjunctively as necessary to bring within the scope of each interrogatory and request for
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documents all information and documents that might otherwise be construed to be outside its
scope. The term “and/or” shall be construed likewise.
           8. Whenever necessary to bring within the scope of an interrogatory or request for
production of documents any information or document that might otherwise be construed to
be outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb
in all other tenses; (ii) the use of the singular shall be construed as the use of the plural and
vice versa; and (iii) “any” includes “all,” and “all” includes “any.”
           9. With regard to any term used herein that is deemed by the responding party as
being ambiguous or vague, a term shall be construed in its broadest sense to encompass all
reasonable definitions of that term.
INTERROGATORY NO. 1
           Please identify any and all policies of insurance issued for Defendant CS Transport,
Inc., or any related or subsidiary thereof or any other entity that have coverages that apply or
that may apply to the incident that forms the basis for the above-styled action to include
policy numbers and types and limits of such coverage, including, but not limited to any
automobile insurance policy applicable to the following vehicle:
              •   2013 Freightliner Cascadia 125, VIN: 1FVXA700XDLBY3357 operated
                  by Defendants at the time of the Subject Wreck.


INTERROGATORY NO. 2
           Please give the name, policy number and limits of liability coverage for the August 9,
2019, wreck of any insurance or bonding company which may be liable to satisfy part or all
of any judgment entered against any defendant in the above-captioned action, or to indemnify
or reimburse any of them for any payments made to satisfy any such judgment; and, state the
contents of any such insurance or bonding agreement as to the limits of liability contained
therein.
INTERROGATORY NO. 3
           Please describe the nature of the relationship between Defendant CS Transport, INC.
and Defendant Bennie Caldwell, including, but not limited to, whether Defendant Caldwell
was a company driver, temporary driver, owner-operator or lease operator, or otherwise and
describe who was Defendant Caldwell’s employer, statutory or otherwise, on August 9, 2019,
while he was operating the subject tractor involved in subject collision.
INTERROGATORY NO. 4
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       Please describe the business relationship existing on or prior to August 9, 2019
between you and any Defendant and any other entity or individual, and whether any written
agreement including any insurance or indemnity agreement, existed with regard to the vehicle
Defendant Caldwell was operating on August 9, 2019, and with regard to Defendant
Caldwell.

        INTERROGATORY NO. 5
       Please identify any and all individuals so that they may be located who have
knowledge of any facts or circumstances of the occurrence made the basis of this suit and,
based on the best information you have available, please state the facts and/or circumstances
that you believe to be within the knowledge of each such person.
INTERROGATORY NO. 6
       Please "identify" each and every person, not previously identified, who, according to
the best information you have available, you believe has knowledge of facts and
circumstances relevant to this case including the Plaintiff's injuries and treatment.
INTERROGATORY NO. 7
       Have you obtained any statements or reports, written or otherwise, from anyone in
connection with the occurrence made the basis of this suit? If so, please "identify" each such
statement and/or report.
INTERROGATORY NO. 8
       Do you have, or know of, any sketches, diagrams, photographs, motion pictures,
maps, drawings, models, measurements, surveys, or other such matter having to do with the
vehicles involved, the occurrence made the basis of this action or the scene of the
occurrence? If so, please "identify."
INTERROGATORY NO. 9
       Please "identify" any and all documentary or other tangible evidence, not previously
identified, which, according to the best information you have available, you believe
demonstrates and/or supports facts relevant to this case.
INTERROGATORY NO. 10
       Do you contend Plaintiff acted in such a manner as to cause or contribute to the
occurrence made the basis of this suit? If so, please set forth each and every fact upon which
your contention is based.
INTERROGATORY NO. 11
       Identify each and every person answering, or providing information for the
answering, of these interrogatories. If more than one person has answered or provided
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information, please indicate who has answered which questions and provided what
information.
INTERROGATORY NO. 12
       State whether you have a copy of any statement which Plaintiff has previously made
concerning the action or its subject matter and which is in your possession, custody or
control.


INTERROGATORY NO. 13
       State in detail your contention as to how the collision occurred and state specifically
and in detail what your claim, opinion or contention will be regarding any cause or
contributing cause of the collision, including a statement in detail of the facts or information
upon which your claim, opinion or contention is based.


INTERROGATORY NO. 14
       If you contend or allege the vehicle named in Interrogatory No. 1 was/is not entitled
to liability motorist coverage under any policy of insurance issued by you or any subsidiary
or related entity to Plaintiff for their claims in this lawsuit, specifically set forth the basis of
your contention, and identify each document relied upon by you to support that contention or
allegation.
INTERROGATORY NO. 15
       Describe any information you have, or any reason you have, to believe Plaintiff
Densley’s medical treatment, claimed to have been incurred as a result of the collision, was
not reasonable and necessary or related to the collision at issue, and identify the source(s) of
your information supporting that indication or belief.


INTERROGATORY NO. 16
       Describe any information you have, or any reason you have, to believe Plaintiff
Densley’s medical expenses, claimed to have been incurred as a result of the collision, were
not reasonable or customary or related to the collision at issue, and identify the source(s) of
your information supporting that indication or belief.
INTERROGATORY NO. 17
       Do you dispute that the Defendant Caldwell was an insured under your policy at the
time of the collision made the basis of this lawsuit? If so, please set forth in detail the basis
for your dispute, and identify any source(s) of information which supports your dispute.
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INTERROGATORY NO. 18
       Describe in detail any relevant conversations you (or any of your representatives)
have had with:
(a)    Plaintiff (or any of Plaintiff’s representatives);
(b)    Any law enforcement official; and
(c)    Any other person.


INTERROGATORY NO. 19
       Describe in detail any settlement, agreement, deal, or other understanding of any kind
whatsoever, tentative or reached with any other person, firm, corporation, partnership,
insurer, or legal entity whatsoever in respect to the subject collision. This interrogatory seeks
but is not limited to information concerning agreements or understandings of any kind
whatsoever, including past, present, or future settlements, deals, agreements, understandings,
and conduct by or between you and any other person or legal entity whatsoever.




INTERROGATORY NO. 20
       Please set forth in detail every fact or contention or opinion you allege supports any

affirmative defense raised in your Answer to Plaintiff’s Complaint.

INTERROGATORY NO. 21

Documents: Identify each document which you know or believe to exist concerning this
accident, and as to each summarize its contents.
INTERROGATORY NO. 22

Visual and audio memoranda: Identify each and every photograph, audiotape, videotape,
sound recording, movie, film, map, diagram, or drawing which you know or believe to exist,
describing each as to what it shows, when it was made, who made it and who has possession
of it now, concerning either the accident, the accident site or how it happened, as well as any
of the Plaintiffs, or anyone else having knowledge of this case, specifically including any
photos, audio or video tapes made in the course of surveillance or investigation.
INTERROGATORY NO. 23
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Witnesses and other persons having knowledge of relevant information: Identify all
persons believed or known by you to have any knowledge or information concerning any
aspect of this case, and as to each such person, summarize their knowledge of such facts.
INTERROGATORY NO. 24

Expert witnesses to be called: Identify each person whom you intend to call as expert
witnesses at trial, and for each such expert specify:
the subject matter on which he or she is expected to testify;
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        1.1.    the substance of the facts and opinions to which he or she is expected to
                testify; and
        1.2.    a summary of the grounds for each opinion to which he or she will testify.
INTERROGATORY NO. 25

Investigators: Identify each person (including law enforcement officers, adjusters,
private investigators and any others) who has conducted any investigation of the subject
accident or of any person connected with it. As to each such investigator:
        1.3.    state the agency for whom each worked, and if a private agency, who
                employed that agency and investigator;
        1.4.    state what each did in conducting his or her investigation and what the
                subject of each investigation was; and
        1.5.    identify each document or recording generated by such investigation,
                stating the date, subject and who made it.
INTERROGATORY NO. 26

Whereabouts preceding collision: State fully the point of departure for each trip, the
route taken, the destination, what stops were made, and what cargo was picked up or
discharged along the way, with the relevant times for each of Defendant Caldwell for
twenty four hours prior to and on the date of this collision.
INTERROGATORY NO. 27

Description of collision: Describe in reasonably complete detail your version of how
this collision happened, stating the following matters specifically:
INTERROGATORY NO. 28

Acts of plaintiff: With respect to plaintiff’s state:
        1.6.    every act of negligence of plaintiff’s which you contend caused or
                contributed to the accident;
        1.7.    every action that you contend plaintiff’s should have taken to avoid the
                collision;
        1.8.    every law, statute, ordinance, or regulation which you contend plaintiff’s
                violated.
INTERROGATORY NO. 29
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Statements after occurrence: Identify each and every statement (either written or oral)
you gave to anyone, or took or received from any person who had information or
knowledge relating to this matter; as to each such statement, summarize the contents
thereof.
INTERROGATORY NO. 30

Damage to truck: Identify with particularity the damage done to the subject truck in the
collision, stating what parts were damaged and exactly what repair work was done, what
parts were repaired or replaced, and who did the repair work.
INTERROGATORY NO. 31

Driving tests: Please identify all driving tests which you are aware of Defendant
Caldwell having taken in the ten years immediately preceding the accident, and state the
following: the full name and address of the person or persons who administered any type
of driving test (whether by the State or an employer), and who in any way checked
driving record and abilities prior to allowing Defendant Caldwell to operate the vehicle in
question.
INTERROGATORY NO. 32

Prior Convictions: Please state if you are aware of any prior convictions of, or pleaded
guilty or nolo contendere to, or forfeited a bond as to any criminal offense, including
traffic violations of Defendant Caldwell? If so, list:
       1.9.    the date of each such citation, conviction and plea;
       1.10.   the court, city, and state of each such conviction or plea;
       1.11.   the nature of the offense; and
       1.12.   the disposition of the charge including nolo contendere pleas and bond
               forfeitures.
INTERROGATORY NO. 33

Other incidents involving driver: State whether you are aware of any other motor
vehicle collisions and incidents, other than the collision forming the basis of this lawsuit
involving Defendant Caldwell. Please state whether involving one vehicle or more than
one vehicle, and whether there was an injury or just property damage, and, if so, state as
to each:
       1.13.   date and location;
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      1.14.   names of other drivers and injured parties;
      1.15.   nature of injuries and amount of property damage;
      1.16.   what happened to cause each such collision or incident;
      1.17.   whether you were issued a citation as to each.;
      1.18.   whether any civil lawsuits were filed or insurance claims were made.


      Respectfully submitted, this 10th day of September, 2020.



                                            /s/ Reza Sedghi
                                            Reza Sedghi
                                            Georgia State Bar No. 634077
2870 Vineville Avenue
Macon, Georgia 31204
Telephone: 478-741-3770
Facsimile: 478-741-3771
sedghilaw@gmail.com
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                                                                       CLERK OF STATE COURT
                                                                       BIBB COUNTY, GEORGIA

                         IN THE STATE COURT OF BIBB COUNTY           20-SCCV-091825
                                                                               SFL
                                                                      SEP 10, 2020 04:13 PM
                                 STATE OF GEORGIA


TREVOR DENSLEY,                           ]
                                          ]
      Plaintiff,                          ]         CIVIL ACTION NO.
                                          ]
vs.                                       ]
                                          ]
BENNIE CALDWELL, REBECCA STONE, CS ]
TRANSPORT, INC., NATIONWIDE               ]
INSURANCE COMPANY OF AMERICA,             ]
JOHN DOE, And JOHN DOE, Inc.              ]
                                          ]
      Defendants.                         ]
__________________________________________]


                  PLAINTIFF’S FIRST INTERROGATORIES
                    TO DEFENDANT BENNIE CALDWELL



      COMES NOW, Plaintiff in the above-styled action, and requires that

the Defendant answer each of the following interrogatories under oath as

provided by law, and a copy of the answers be furnished to Plaintiff’s

attorney, Reza Sedghi, 2870 Vineville Avenue, Macon, Georgia 31204,

pursuant to the provisions of O.C.G.A. §9-11-33. These interrogatories shall

be deemed continuing so as to require supplemental answers if you or your

attorney obtains further information between the time answers are served

and the time of trial. A response to these interrogatories should be served

upon counsel for Plaintiff within thirty (30) days from service of Plaintiff’s

first interrogatories.

      NOTE A:       When used in these interrogatories, the term “Defendant”

or any synonym thereof is intended to and shall embrace and include, in

addition to said Defendant, all agents, servants, representatives, private




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investigators and others who are in a position of obtaining or may have

obtained information for or on behalf of the Defendant.

      NOTE B:      The party to whom these interrogatories are directed is

under a duty seasonably to supplement his or her responses with respect to

any question directly addressed to the identity and location of persons

having knowledge of discoverable matters and the identity of each person

expected to be called as an expert witness at trial, the subject matter on

which the expert is expected to testify, and the substance of the expert’s

testimony. The party is under a further duty to seasonably amend a prior

response if he or she obtains information upon the basis of which he or she

knows the response was incorrect when made or he or she knows that the

response, though correct when made, is no longer true and the

circumstances are such that a failure to amend the response is in substance

a knowing concealment.

                          INTERROGATORY NO. 1

      Please identify yourself fully, giving your full name, age, social security

number, resident address and, if married, give the name of your spouse.

                          INTERROGATORY NO. 2

      Please state the name of your employer, your employment address,

your particular job duties, the name of your immediate supervisor, and the

length of your employment.

                          INTERROGATORY NO. 3

      If you have ever been convicted of a crime, please give for each such

conviction, the date, the court, the offense, and the penalty imposed.

                          INTERROGATORY NO. 4

      How many automobile accidents have you been involved in, and

please give a description of each.



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                           INTERROGATORY NO. 5

      Were you, on the date of the alleged occurrence, duly licensed to

operate a motor vehicle?

                           INTERROGATORY NO. 6

      If the answer to the preceding interrogatory is in the affirmative,

kindly attach a copy of your operator’s license to your response to these

interrogatories.

                           INTERROGATORY NO. 7

      At the time of the alleged occurrence, did you own any eyeglasses or

other corrective lenses? If at the time of the alleged occurrence you were not

wearing your eyeglasses or corrective lenses, please explain in full detail why

you were not.

                           INTERROGATORY NO. 8

      Where had you been prior to the collision, where were you going at the

time of the collision, and what time were you due to arrive at your

destination?

                           INTERROGATORY NO. 9

      Please state as of the time of the alleged occurrence where you had

entered the motor vehicle and where you next intended to disembark from

your vehicle.

                           INTERROGATORY NO. 10

      At the time of the alleged occurrence, were you working? If the

answer is in the affirmative, state the particular job activity that you were

involved in at the time.




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                           INTERROGATORY NO. 11

      Please state the number of persons in the motor vehicle owned or

operated by you at the time of the alleged occurrence, giving their full name,

addresses, and telephone numbers.

                           INTERROGATORY NO. 12

      Please give the month, date, and year when you received your first

driver’s license.

                           INTERROGATORY NO. 13

      Have you given any statements about this collision, and if so, identify

by name, address, and telephone number, the individual and/or company to

whom this statement was given.

                           INTERROGATORY NO. 14

      Please state the names and addresses of all witnesses to the alleged

occurrence.

                           INTERROGATORY NO. 15

      Have you ever been a Plaintiff or Defendant in any civil action or any

form of civil litigation, and if so, please state the date, type of civil action and

which court this civil action was filed.

                           INTERROGATORY NO. 16

      Did a collision occur between the Plaintiff’s vehicle and the vehicle you

were operating on the date stated in the Complaint for Damages?

                           INTERROGATORY NO. 17

      Please state in detail your version of how this collision occurred.

                           INTERROGATORY NO. 18

      What was done by you in the operation of your vehicle to avoid the

collision?

                           INTERROGATORY NO. 19



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      If you contend that the Plaintiff was negligent in the operation of

his/her vehicle, state what the Plaintiff did that in your opinion was

negligent.

                           INTERROGATORY NO. 20

      At the first moment you saw Plaintiff’s vehicle was it stopped or

moving? If Plaintiff’s vehicle was moving, what was its speed?

                           INTERROGATORY NO. 21

      Insofar as you could observe, was Plaintiff’s vehicle damaged as a

result of this collision; and if so, please describe the parts damaged.

                           INTERROGATORY NO. 22

      What was the speed of the vehicle which you were driving immediately

prior to seeing Plaintiff’s vehicle?

                           INTERROGATORY NO. 23

      How many feet from the Plaintiff were you when you first saw

Plaintiff’s vehicle?

                           INTERROGATORY NO. 24

      State the substance of every utterance made by or to you at the scene

of the collision and identify the speaker by name, if known, or by any other

facts which might lead to the discovery of the speakers identity.

                           INTERROGATORY NO. 25

      State whether you received a citation of any sort as a result of this

collision, and if so, state the nature of same, the disposition made and the

court involved.




                           INTERROGATORY NO. 26




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      Please state whether any photographs were made of the scene of the

occurrence complained of, or of any vehicle or other physical object involved

in the occurrence complained of. If so, please state the following:

      (a)    The subject represented and all facts represented or shown;

      (b)    The name, address and telephone number of the person having

possession, custody or control thereof.

                              INTERROGATORY NO. 27

      Please state whether you were familiar with the general area where

this collision occurred.

                              INTERROGATORY NO. 28

      What ownership, interest or title did you have in the vehicle you were

operating at the time the collision occurred?

                              INTERROGATORY NO. 29

      If you were the servant, agent or employee of the owner of said vehicle,

state the circumstances under which you were operating the vehicle at the

time of the collision.

                              INTERROGATORY NO. 30

      With respect to the vehicle you were operating at the time of said

collision, state the name, address and last known residence address of the

registered owner, and legal owner if other than the registered owner as of

the date of said collision.

                              INTERROGATORY NO. 31

      Identify each and every insurance company, including excess carriers

and umbrella coverages, which might be liable to satisfy all or part of any

judgment which may be entered in this action, and for each insurer give the

following information:

      (a)    Name and address of the company;



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      (b)    Limits of liability coverage;

      (c)    Policy number;

      (d)    Named insured.

                           INTERROGATORY NO. 32

      State whether or not on the date of the collision the vehicle you were

driving had any mechanical defects, and if so, the nature of same.

                           INTERROGATORY NO. 33

      Describe the damage done to your vehicle as a result of the collision,

and state whether it was repaired. If repaired, please give me the name of

the person or company that repaired said vehicle and the total cost of said

repair.

                           INTERROGATORY NO. 34

      State the name, address and current telephone number of any and all

persons who, to your knowledge or belief, were eyewitnesses to the collision.

                           INTERROGATORY NO. 35

State the name, address and current telephone number of any and all

persons who, to your knowledge or belief, were present at the scene of this

collision immediately after its occurrence and at any time within one (1)

hour following.

                           INTERROGATORY NO. 36

      State the names, addresses and current telephone numbers of any

and all persons who accompanied you during any part of your trip prior to

this collision, up to the collision.

                           INTERROGATORY NO. 37

      State the names, address and current telephone numbers of all

persons who have furnished statements, signed or unsigned, to you, your

representative or attorney.



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                         INTERROGATORY NO. 38

      State the names and addresses of any and all persons who, to your

knowledge and belief, witnessed you consume any drug or alcoholic

beverage within the twelve (12) hours period immediately preceding this

collision.

                         INTERROGATORY NO. 39

      Please identify any and all persons you expect to call as expert

witnesses in the trial of this case, and give the substance of the facts and

opinions to which the expert is expected to testify as well as his address and

phone number.

                         INTERROGATORY NO. 40

      Please give the name, current address, place of employment and

telephone number of all persons known to you or your attorney who have

any knowledge of relevant information, facts or circumstances which bear

on any of the issues in the captioned case.

                         INTERROGATORY NO. 41

      Please describe the condition of the road at the time and place of the

alleged occurrence as to slipperiness, stating in your answer whether the

pavement was not slippery, slightly slippery, slippery in spots, or otherwise.

                         INTERROGATORY NO. 42

      Please describe the condition of the roadway, whether it was icy, wet,

or dry at the time and place of the alleged occurrence.

                         INTERROGATORY NO. 43

      Please state what, if any, traffic control signs, signals or devices you

observed at the time of the occurrence, within five hundred (500) feet before

you reached the place of the occurrence.

                         INTERROGATORY NO. 44



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      Identify each and every individual or entity which you contend caused

or contributed to the accident which is the subject of this litigation.

                          INTERROGATORY NO. 45

      As to each, describe the factual situation which you contend caused

or contributed to the subject accident.

      This 10th day of September, 2020.


                                             /s/Reza Sedghi
                                             REZA SEDGHI
                                             Attorney for Plaintiff
                                             State Bar No. 634077
2870 Vineville Avenue
Macon, GA 31204
(478) 741-3770 Telephone
(478) 741-3771 Facsimile
www.sedghilaw@gmail.com




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                                                                     CLERK OF STATE COURT
                                                                     BIBB COUNTY, GEORGIA
                                                                  20-SCCV-091825
                    IN THE STATE COURT OF BIBB COUNTY                        SFL
                                                                    SEP 10, 2020 04:13 PM
                              STATE OF GEORGIA


TREVOR DENSLEY,                           ]
                                          ]
      Plaintiff,                          ]       CIVIL ACTION NO.
                                          ]
vs.                                       ]
                                          ]
BENNIE CALDWELL, REBECCA STONE, CS ]
TRANSPORT, INC., NATIONWIDE               ]
INSURANCE COMPANY OF AMERICA,             ]
JOHN DOE, And JOHN DOE, Inc.              ]
                                          ]
      Defendants.                         ]
__________________________________________]



                    PLAINTIFF’S FIRST REQUEST FOR
                    PRODUCTION OF DOCUMENTS TO
                     DEFENDANT BENNIE CALDWELL


      COMES NOW the Plaintiff in the within and foregoing matter and

serves upon you the following Request for Production of Documents under

the provisions of rule 34 of the Georgia Civil Practice Act, O.C.G.A. §9-11-

34. You are requested to produce the documents within thirty (30) days

from the date of service of this request in the office of Reza Sedghi, 2870

Vineville Avenue, Macon, Georgia 31204. You are requested to produce and

to permit us to inspect and copy each of the following:

                              REQUEST NO. 1

      A copy of Defendant’s driver’s license.

                              REQUEST NO. 2

      A copy of the title to the vehicle the Defendant was driving at the time

in question.




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                              REQUEST NO. 3

      Any and all photographs in your possession of the vehicle, the parties

or the scene in question following the collision.

                              REQUEST NO. 4

      Names and addresses, together with any and all expert reports,

which have been obtained from any expert and if a report has not been

prepared, the preparation of a report is hereby requested.

                              REQUEST NO. 5

      A copy of any damage estimate appraisal(s) of the Defendant’s

vehicle.

                              REQUEST NO. 6

      Any and all insurance agreements or policies under which any person

or entity carrying on an insurance business may be liable to satisfy part or

all of the judgment which may be rendered in this action or to indemnify or

reimburse for payments made to satisfy the judgment including, but not

limited to, any liability insurance policy covering defendant or the

automobile being driven by defendant at the time in question.

                              REQUEST NO. 7

      Copies of any and all statements previously made by Plaintiff

concerning the subject matter of this lawsuit, including any written

statement signed or otherwise adopted or approved by the Plaintiff hereto

and any stenographic, mechanical, electrical or other type of recording or

any transcription thereof made by Plaintiff hereto and contemporaneously

recorded.




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                                 REQUEST NO. 8

      Any and all drawings, maps, or sketches of the scene of the accident

which have been made the basis of this lawsuit.

                                 REQUEST NO. 9

      A list of the names and addresses of any witness with knowledge of the

facts relating to this action.

                                 REQUEST NO. 10

      Copies of all medical records regarding Plaintiff’s treatment for diseases

or injuries that defendant contends was not related to the accident or that

preexisted the accident resulting in this lawsuit.

      This request is a continuing request.          If Defendant comes into

possession of the documents requested at any time before trial and after this

request is made, then Defendant should produce such documents to the

Plaintiff as prescribed by law. This request is made within the scope of Rule

26(b) of the Georgia Civil Practice Act (O.C.G.A. §9-11-26).



      This 10th day of September, 2020.


                                            /s/Reza Sedghi
                                            REZA SEDGHI
                                            Attorney for Plaintiff
                                            State Bar No. 634077

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